         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 1 of 52




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

VASHTI SHERROD
EUGENE SHERROD,

            Plaintiffs,                      Civil Action No. 16-0816 (RC)
v.

PHILLIP MCHUGH
DISTRICT OF COLUMBIA
DIANE LEE SCHULZ,

            Defendants.

                PLAINTIFFS' MOTION TO PRECLUDE THE
                  TRIAL TESTIMONY OF SHANA MELL

      Plaintiffs, through counsel, here move the Court to preclude the trial

testimony of Shana Mell, an employee of Defendant District of Columbia's

Metropolitan Police Department.

      Before filing this motion, Plaintiffs' counsel made a good-faith effort to

resolve the matter at issue with opposing counsel for Defendant District of

Columbia without success. Plaintiffs' counsel also determined that the District

will oppose the Court affording the relief sought in this motion.

      The grounds supporting this motion are set forth in the accompanying

memorandum.




                                                                                   EXHIBIT
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 2 of 52




Respectfully submitted,


Is! Peter T. Enslein
Peter T. Enslein
D.C. Bar No. 367467
Law Offices of Peter T. Enslein, P.C.
 1738 Wisconsin Avenue, NW
Washington, DC 20007
T: (202)329-9949
F: (202) 625-3490
E: peter@ensleinlaw.com

/s/ Kenneth D. Bynum
Kenneth D. Bynum
D.C. Bar No. 424515
Bynum & Jenkins
 1010 Cameron Street
Alexandria, VA 22314
T:(703)549-7211
E: kbynum@bynumandj enkinslaw.com

Attorneys for Plaintiffs
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 3 of 52




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

VASHTI SHERROD
EUGENE SHERROD,

             Plaintiffs,                     Civil Action No. 16-0816 (RC)
v.

PHILLIP MCHUGH
DISTRICT OF COLUMBIA
DIANE LEE SCHULZ,

             Defendants.

        MEMORANDUM IN SUPPORT OF PLAINTIFFS' MOTION
       TO PRECLUDE THE TRIAL TESTIMONY OF SHANA MELL

      Plaintiffs, through counsel, have moved the Court to preclude the trial

testimony of Shana Mell, an employee of Defendant District of Columbia's

Metropolitan Police Department ("MPD"). The grounds supporting this motion

are as follows.

      This Court's Scheduling Order, as amended, required all fact discovery to be

completed by August 15, 2017.1 The District violated the order by delaying until

October 17, 2017, to reveal Shana Mell as a potential trial witness. On that date,

the District served "Defendants' Supplemental Initial Disclosures,"2 in which it


1 March 13, 2017 Minute Order granting Plaintiffs' Consent Motion to Amend the
Scheduling Order.
2 Defendants' Supplemental Initial Disclosures is appended as Exhibit 1.
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 4 of 52




stated that Ms. Mell intends to testify at trial about her "[k]nowledge of IACP and

the extent to which MPD relies on IACP's policies."3

      Plaintiffs' counsel immediately objected to the District's untimely disclosure

of Ms. Mell, coming as it did two months after the August 15, 2017 close of fact

discovery.4 On October 23, 2017, in response to Plaintiffs' counsel's objection, the

District served up this disingenuous explanation for its failure to disclose Ms. Mell

during the discovery period:

      [A]s to Shana Mell, MPD policy writer, she was identified only after
      Defendants received Mr. Hayden's [September 30, 2017] expert
      report. Mr. Hayden relies heavily on IACP to establish a relevant
      standard of care relating to criminal investigations, and applications
      process for securing arrest and search warrants. The Defendants did
      not know the basis for Mr. Hayden's opinions until he produced his
      expert report. Ms. Mell certainly can testify, pursuant to Fed. R. Civ.
      P. 30(b)(6), about the extent to which MPD follows and/or relies on
      the IACP model policies. Accordingly, the Defendants will not
      withdraw their Supplemental Disclosures as to Ms. Mell.5




3 Defendants' Supplemental Initial Disclosures at 1. "IACP" is the abbreviation
for the International Association of Chiefs of Police.
4 Letter dated Oct. 19, 2017 from Peter T. Enslein to David A. Jackson, attached
as Exhibit 2.
5 Letter dated Oct. 23, 2017 from David A. Jackson to Peter T. Enslein, attached
as Exhibit 3.
          Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 5 of 52




      The District's explanation for its failure to timely disclose Ms. Mell's

identify is utterly without merit. The District has known since May 8, 2017 that
Plaintiffs intend to offer expert testimony that, in the District's words, "relies

heavily upon IACP to establish a relevant standard of care relating to criminal

investigations, and applications process for securing arrest and search warrants."

      On May 8, 2017, Plaintiffs timely produced to the District of Columbia's

lawyers the expert report of Robert W. Klotz, a retired MPD detective and veteran

expert witness on police procedures.7 A cursory reading of Mr. Klotz's expert

report would have put even the most junior District of Columbia lawyer on notice

that the "criminal investigations, and applications process for securing arrest and

search warrant policies" of the IACP were to be the subject of expert testimony in

this litigation. The need for the District to supplement its witness disclosure to

identify Ms. Pell should have been immediately apparent to its counsel upon

reading the following portions of Mr. Klotz's May 5, 2017 expert report:




6 Letter dated Oct. 23, 2017 from David A. Jackson to Peter T. Enslein, attached as
Exhibit 3.
7 Email dated May 8,2017 from Peter T. Enslein to all defense counsel of record
producing the May 5, 2017 letter report of Robert W. Klotz, attached as Exhibit 4.
Mr. Klotz's report is attached as Exhibit 5.
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 6 of 52



As noted in my resume, I spent twenty-five years with the
Metropolitan Police Department I was the Deputy Chief
Commander of the Special Operations & Traffic Divisions. During
my tenure, I also travelled the country lecturing for the International
Association of Chief s of Police (IACP). After my retirement in 1980,
I continued lecturing for the IACP and worked for a similar group
known as Murphy and Associates. In this capacity, I engaged in
reviews of various police agencies to recommend various methods of
improved services.
                                 * * *

                              Discussion

The purpose of this report is to evaluate the conduct of the District of
Columbia Metropolitan Police Department ('MPD') during the
criminal investigation of the May 14, 2015 altercation between Ms.
Schulz and Mrs. Sherrod, as well as the specific actions of Det.
McHugh during this investigation. I have used the Model Policies
put forth by various professional police organizations, in my
evaluation of the actions of the MPD law enforcement officers
involved in this case. The IACP's Model Policies have been widely
accepted by police departments in the United States and reflect
generally accepted standards for law enforcement conduct in this
country, (footnote omitted)
                              * * *

Officer Patel's Preliminary Investigation

According to the IACP Model Policy for Criminal Investigations, a
criminal investigation is defined as '[t]he collection of facts and
information intended to identify an offender and to organize facts and
information in a way that presents evidence sufficient for criminal
charges.' Model Policy for Criminal Investigations at 1 (emphasis
supplied). 'Normally, criminal investigations consist of a preliminary
investigation, generally conducted by the responding patrol officer
and, if necessary, a follow-up investigation performed by investigative
services.' See IACP Criminal Investigations Concepts and Issues
Paper at 1. '[I]t is very important that patrol officers and first line
supervisors have a broad understanding of the criminal investigation
process in order to ensure that they take those measures and avoid
missteps that will better ensure the overall success of criminal
investigations.' Id. at 1.
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 7 of 52




                                 * * *


According to the IACP Model Policies for Criminal Investigations,
officers conducting a preliminary investigation should *[t]ake written
notes and conduct voice recordings whenever possible.'
                                 * * *

Accurate note taking by investigating police officers a matter of
particular importance. 'Note taking is important when conducting a
preliminary investigation and is vital to a successful criminal
investigation... Notes should be legible, understandable, accurate, and
complete, as they will serve to facilitate the officer's memory and may
need to be used in court where their accuracy may be challenged...
Before a patrol officer turns the case over to investigative services, he
or she must be certain that the preliminary report is clear and all
information detailed. The information should have been collected in
such a way that investigators would not need to repeat the steps of the
preliminary investigation but would have an outline for developing
effective follow-up plans. See Criminal Investigations Concepts
and Issues Paper at 2-3.

It is impossible to reconcile the disparity between Officer Patel's
handwritten interview notes regarding what Ms. Schulz allegedly told
him during the interview about the gun with his description of the
events of the interview in the report that he prepared within minutes of
the interview's conclusion.... At a minimum, Officer Patel failed to
properly interview Ms. Schulz and failed to meet the standard
required of a police officer to prepare 'understandable, accurate, and
complete' notes in this case.

Detective McHugh's Follow-Up Investigation

The following day, on May 15, 2015, Det. McHugh was assigned to
the case in order to conduct a follow-up investigation. 'The primary
goal of the follow-up investigation is to gather information and
evidence.' See IACP Criminal Investigation Concepts and Issues
Paper at 5. 'To accomplish this goal, the investigator may decide to
re-interview the victim, any witnesses or others in the hope that
additional information can be uncovered.' Id. 'When the investigator
re-interviews the victim and witnesses, he or she must test and retest
  Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 8 of 52




the validity of their statements.' Id. 'The investigator must be able to
recognize that factors of fear, stress, relationship, friendship, or
dishonesty color and affect the credibility of the responses.' Id.
'Information obtained by persons should ... be primarily categorized
as investigative leads rather than positive evidence of a suspect's guilt
or innocence.' Id.
                                  * * *

Det. McHugh believed that Sergeant Architezo directed Officer Patel
to classify the alleged incident as a threat report due to a 'delay in
reporting,' as Ms. Schulz had waited approximately seven hours
before calling the police about this alleged event. See McHugh Dep.
at 76:6-10; 275:7-12. It is important to note that the IACP considers
the question of 'Was the amount of time between the crime's
occurrence and the notification of the police normal?' an important
factor for an investigating police officer to consider when assessing
the credibility of a complaining witness. See Criminal Investigations
Concepts and Issues Paper at 2. Det. McHugh admitted that he
considered Ms. Schulz's long delay in reporting 'strange.' McHugh
Dep. at 83:2-15.

4[A] typical follow-up investigation outline' consisting of 19 activities.
IACP, Criminal Investigation, Concept and Issues Paper at 4. Of
relevance to this case are the following activities that Det. McHugh
employed in his follow-up investigation: 'Telephone the victim,'
'Interview the victim, witnesses, and potential witnesses,' 'conduct a
records search,' 'transmit all-points bulletins and other official
communications,' 'prepare required reports and records on case
progress' and 'contact other government agencies.' Id.
Moreover, the IACP Model Policy for Criminal Investigations
provides that an officer in charge of a follow-up investigation should
'search for new witnesses,' 'complete background checks on
witnesses, victims, and suspects as appropriate,' and 'seek additional
information from other officers' In this case, it does not appear that
Defendant McHugh completed any of these crucial steps during his
follow-up investigation of the May 14, 2015 incident.
                                  * * *
  Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 9 of 52



On May 15, 2015, Det. McHugh interviewed Ms. Schulz at her
apartment. According to Det. McHugh, during their meeting, Ms.
Schulz claimed that during the May 14, 2015 incident 'Mrs. Sherrod
went to her car and reached under the driver's seat, pulling out what
Schulz described as a black semi-automatic pistol similar to what a
police officer would carry.' (emphasis supplied) See McHugh Answer
to Request for Admission No. 32. Contrary to IACP policy, Det.
McHugh failed to take detailed notes during his investigation and
denied taking any notes other than those sparse notes contained in the
exhibits of record. See McHugh Depo. at 87-88, 286-87; IACP
Criminal Investigations Concepts and Issues Paper at 6-7 ('As
with the preliminary investigation, it is important for Detectives to
record all information obtained during the follow-up investigation. A
Det. must develop the sound habit of taking legible and accurate notes
... from the moment he or she arrives on the scene ... The importance
of note taking by preliminary investigators and investigative personnel
is again underscored. Field notes should be taken as facts are learned
and as evidence is obtained. These notes are the foundation of the
investigative report; therefore, it is important that they be clear and
concise.')
                                 * * *


 Det. McHugh also located a video of the incident, recorded by a
Gingko Gardens security camera, and watched it on the computer in
the flower shop. Id. at 118:17-5. Det. McHugh downloaded the video
and brought it back to the police station, where he showed it to his
supervisor, Lieutenant Richard Brady. Id. at 119:6-11. The video,
according to McHugh, was 'grainy and not clear,' and he could not
tell whether Mrs. Sherrod had a gun in her hand at any point during
the encounter. Id. at 119:14-16; 147:16-18; 157:15-20. Note that the
IACP considers the question of 'Does the physical evidence support
the facts of the crime related by the victim?' an important factor for an
investigating police officer to consider when assessing the credibility
of a complaining witness. See Criminal Investigations Concepts
and Issues Paper at 2. Despite the poor quality of the surveillance
video, Defendant McHugh did not seek to have the video-recording
enhanced in order to see what was in Mrs. Sherrod's hand more
clearly and, in fact, did not even ask whether such enhancement
would be possible. Id. at 267:2-10.
  Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 10 of 52



The video does not corroborate and, in fact, contradicts the allegations
that Ms. Schulz had asserted against Mrs. Sherrod.

                              * * *
A critical part of any police investigation is the identification and
interview of witnesses to an alleged crime and determining whether
there are 'any discrepancies in the statements of victims and
witnesses.' See Criminal Investigation Concept and Issues Paper
at 2. This should include attempting to locate any potential witnesses
at the scene of the alleged offense, as well as canvassing the
neighborhood or surrounding area for any witness that may exist. Id.
The significance of the failure of Det. McHugh to identify and
interview Mr. Wright cannot be over stated. This witness plainly
contradicted Ms. Schulz' story and, as Det. McHugh would learn,
supported Mrs. Sherrod's position that she did not own a gun and did
not display or point one at Ms. Schulz at any time during the May 14,
2015 incident.
                                 * * *

                               Opinions

It is my opinion: (1) that the criminal investigation performed by
the MPD and, in particular, Det. McHugh, was flawed and fell
below the standard of care set by the IACP; (2) that, as a result, Det.
McHugh failed to determine from the outset that there lacked probable
cause to prosecute Mrs. Sherrod of assault with a deadly weapon; (3)
that Det. McHugh's actions during his follow up investigation of the
May 14, 2015 incident was not that expected of a reasonable officer
similarly situated; his actions were contrary to national police
standards for probable cause for an arrest and he conducted a follow
up investigation that no reasonable police officer would believe to be
proper; (4) that Det. McHugh in his reports and actions during his
follow-up investigation submitted police reports that were misleading
and contained false information and took actions that were contrary to
national police standards for such activities, and that no reasonable
police officer would believe this to be proper; (5) that Det. McHugh,
in continuing to attempt to prosecute Mrs. Sherrod despite the
information obtained during his follow up investigation, acted
contrary to national police standards and that no reasonable officer
would believe this to be proper; and (6) that Det. McHugh's
supervisors, who were monitoring his actions during his investigation,
                                      8
        Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 11 of 52



      took no steps to prevent Det. McHugh from taking actions such as
      pursuing the arrest and prosecution of Mrs. Sherrod; failed to properly
      supervise, correct, and prevent the improper prosecution of Mrs.
      Sherrod; failed to adequately perform their supervisory duties; and
      thereby violated national police standards, conduct that no reasonable
      police supervisor would believe to be proper.

      Mr. Klotz remained an expert witness in this case until September 7, 2017

when he withdrew from further particaption in this case because of illness and was

replaced by Dr. Hayden as Plaintiffs' police procedures expert witness.9 As Dr.

Hayden's report does not differ in any significant way from Mr. Klotz's report

regarding the IACP's model policies, the District was on notice since May 8, 2017
that the IACP model policies would be the subject of expert testimony in this

litigation.10 Therefore, the substitution of Dr. Hayden's expert report in place of

Mr. Klotz's expert report provides no excuse for the District's untimely disclosure

of Ms. Mell.

      Federal Rule of Civil Procedure 26(a)(l)(A)(i) provides, that a party must

disclose, without awaiting a formal discovery request, "the name...of each

individual likely to have discoverable information—along with the subjects of that


8 Mr. Klotz's report is attached as Exhibit 5. (emphasis supplied).
9 See Memorandum in Support of Plaintiffs' Consent Motion to Amend the
Scheduling Order (ECF 53-1) at 6.
10 Dr. Hayden's expert report is attached as Exhibit 6 and was timely served on
defense counsel.
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 12 of 52



information—that the disclosing party may use to support its claims or defenses,

unless the use would be solely for impeachment." On January 6, 2017, the

District served its initial disclosures and failed to identify Ms. Mell as an

individual likely to have discoverable information.11

      Rule 26(e)(1)(A) required the District to file supplemental disclosures "in a

timely manner." While Rule 26(e) does not define "in a timely manner," it is

beyond cavil that the "supplementation must occur in a fashion that will allow the

opposing party to conduct meaningful discovery and avoid undue delay in the

progress of the case." Poitra v. Sch. Dist. No. 1 in the County of Denver, 311

F.R.D. 659, 666 (D. Colo. 2015) (quoting United States v. Guidant Corp., No.

3:03-0842,2009 WL 3103836, at *4 (M.D.Tenn. Sept. 24,2009)); see also Reed v.

Washington Area Metropolitan Transit Authority',No. I:14cv65, 2014 WL

2967920, at *2 (E.D.Va. July 1, 2014) ("Making a supplemental disclosure of a

known fact witness a mere two days before the close of disco very...is not timely by

any definition.").
      Where a party fails to make a disclosure required by Rule 26(a)(1), that

party may not use at trial any witness or information not so disclosed, unless the

court determines that the failure to disclose was substantially justified or

harmless. Fed. R. Civ. P. 37(c)(1). The District bears the burden of showing that it

11 Defendants' Initial Disclosures, served Jan. 6,2017, is attached as Exhibit 7.


                                           10
       Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 13 of 52



was substantially justified in failing to comply with Rule 26(a)(1). Elion v.

Jackson, 544 F.Supp.2d 1 (D.D.C. 2008) ("The burden is on the party facing

sanctions to prove that the violation was either substantially justified or harmless.")

(internal citations omitted).

      There is no justification for the District's failure to disclose Ms. Mell and the

substantial prejudice to Plaintiffs caused by the District's litigaion misconduct is

obvious. The District's gamesmanship made it impossible for Plaintiffs to take any

discovery of Ms. Mell. With fact discovery closed, Plaintiffs are barred from

taking Ms. Mell's deposition, or propounding interrogatories or document requests

to Ms. Mell seeking information about her purported writing of the MPD policies

at issue or her knowledge of "the extent to which MPD follows and/or relies on the

IACP model policies." See, e.g., Smith v. Henderson, 54 F.Supp.3d 58, 66 (D.D.C.

2014) ("Generally, the harm from the failure to disclose a witness flows from the

unfair surprise hindering the prejudiced party's ability to examine and contest that

witness' evidence. If the court accepts eleventh-hour declarations, then the

[prejudiced party] would effectively be deprived the opportunity to depose [the]
new witnesses. The [prejudiced party] would also have to unexpectedly gather

rebuttal evidence at a moment's notice, which could cause substantial harm to its

case.") (internal quotations and citations omitted); Elion, 544 F.Supp.2d at 5

(excluding testimony of a witness who was not timely disclosed because the

"failure to disclose [the witness] prevented the [prejudiced party] from preparing to
                                           11
        Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 14 of 52



meet [the witness'] testimony."); compare Burns v. Georgetown University

Medical Center, 106 F.Supp.3d 238 (D.D.C. 2015) (allowing untimely addition of

two additional witnesses because the plaintiffs illness during the time she should

have disclosed the witnesses was a valid justification for the delay and the

opposing party would be allowed to depose the witnesses or serve interrogatories

upon them to dispel the prejudice that would otherwise result).

       Once again, the District has simply ignored the Scheduling Order and

served up a disingenuous excuse for its failure. The Court will recall that the

District's lawyers failed to abide by the Scheduling Order's requirement that they

produce the District's expert's report by the Order's June 16, 2017 deadline. The

District's lawyers asked the Court to excuse their failure by making the specious

assertion that they only realized the need for an expert report on the very day the

report was due ("Defendant's counsel inadvertently did not determine to designate
                                                         12
an expert to complete a report until June 16, 2017.").

      The District's explanation for its failure to disclosure Ms. Mell during the

fact discovery period is likewise incredible and dishonest. It was impossible for

the District's lawyers not to have understood the importance of Ms. Mell's




12 Defendant District of Columbia's Motion for Leave to File Expert Designation
and Report Nunc Pro Tunc and to Amend the Scheduling Order (ECF 46) at 1.


                                          12
        Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 15 of 52




knowledge and their duty to disclose her identity to Plaintiffs' counsel the moment

they read Mr. Klotz's May 5, 2017 report.

      "A scheduling order is not a frivolous piece of paper, idly entered, which can

be cavalierly disregarded by counsel without peril." Saunders v. District of

Columbia, 279 F.R.D 35 (D.D.C. Jan. 6, 2012) (quoting St Paul Mercury Ins. Co.

v. Capitol Sprinkler Inspection Inc., Civil Action No. 05-2115 (CKK), 2007 WL

1589495, at *5 (D.D.C. June 1, 2017)). "Indeed, disregard of the order undermines

the court's ability to control its docket, disrupt the agreed-upon course of litigation,

and reward the indolent and the cavalier." Id Nevertheless, the Court excused the

District's earlier violation of the Scheduling Order and permitted the District to

name an expert witness after it had failed to do so within the Order's orginal

deadline.13

      Moreover, the District's flagrant disregard of scheduling orders in the past

has not been met with appropriately harsh sanctions, which only encourages the

District to continue this inappropriate behavior. Robinson v. District of Columbia,

75 F.Supp.3d 190 (D.D.C. 2014) (admonishing the District that "the Court cautions

Defendants that is does not condone their shortcomings here," but declining to

exclude testimony). The Court's decision to not sanction the District when it


13 Aug. 8,2017 Minute Order granting in part and denying in part Defendant
District of Columbia's Motion for Leave to File Expert Designation and Report
Nunc Pro Tunc and to Amend the Scheduling Order.
                                           13
            Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 16 of 52




violated the Scheduling Order the first time here, as in the past, only emboldened

the District to violate the Order again.

      The observations of the late U.S. District Judge William W. Schwarzer

about the danger to the judicial process created by the failure of judges to sanction

those who engage in litigation misconduct in an analogous context are especially

apt here:

      Of all the duties of a judge, imposing sanctions on lawyers is perhaps
      the most unpleasant. A desire to avoid doing so is understandable. But
      if judges turn from Rule 11 and let it fall into disuse, the message to
      those inclined to abuse or misuse the litigation process will be clear.
      Misconduct, once tolerated, will breed more misconduct and those
      who might seek relief against abuse will instead resort to it in self-
      defense.

Sanctions Under the New Rule 11 - A Closer Look, 104 F.R.D. 181, 205 (1985)

(emphasis supplied).

      The Court's tolerance for the District of Columbia's earlier litigation

misconduct has only served to breed more misconduct by the District. The integrity

of this Court and the judicial process will be eroded if the Court fails to sanction

the District for its latest misconduct. The Court has an obligation "to prevent

abuses of the judicial process by holding parties in contempt and ordering

sanctions for violations of the court's orders." Cobell v. Babbitt, 37 F. Supp. 2d 6,

9 (D.D.C. 1999) (quoting Webb v. District of Columbia, 146 F.3d 964, 971

(D.C.Cir. 1998)). Under these circumstances precluding the trial testimony of Ms.

Mell is not only an appropriate sanction for the District's litigation misconduct, but
                                           14
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 17 of 52




it will also prevent the District and other litigants from engaging in such

misconduct in the future and uphold integrity of this Court. See DL v. District of

Columbia, 274 F.R.D. 320, 325 (D.D.C. 2011) ("In determining whether a severe

sanction is justified, the district court may consider the resulting prejudice to the

other party, any prejudice to the judicial system, and the need to deter similar

misconduct in the future. The D.C. Circuit has held that the district court's interest

in deterrence is a legitimate one, not merely to penalize those whose conduct may

be deemed to warrant such a sanction, but to deter those who might be tempted to

such conduct in the absence of such a deterrent.") (internal citations omitted). If the

Court truly "expects litigants, especially repeat players like the District, to comply

with the Rules," appropriately harsh penalties must be imposed. Robinson v.

District of Columbia, 75 F.Supp.3d 190, 197 (D.D.C. 2014).

Respectfully submitted,

Is/ Peter T. Enslein
Peter T. Enslein
D.C. Bar No. 367467
Law Offices of Peter T. Enslein, P.C.
 1738 Wisconsin Avenue, NW
Washington, DC 20007
T: (202)329-9949
F: (202) 625-3490
E: peter@ensleinlaw.com




                                          15
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 18 of 52




/s/Kenneth D. Bynum
Kenneth D. Bynum
D.C. Bar No. 424515
Bynum & Jenkins
 1010 Cameron Street
Alexandria, VA 22314
T: (703)549-7211
E: kbynum@bynumandjenkinslaw.com

Attorneys for Plaintiffs




                                      16
          Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 19 of 52




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

VASHTI SHERROD
EUGENE SHERROD,

             Plaintiffs,                    Civil Action No. 16-0816 (RC)
v.

PHILLIP MCHUGH
DISTRICT OF COLUMBIA
DIANE LEE SCHULZ,

             Defendants.

                              [Proposed] ORDER

      Upon consideration of Plaintiffs' Motion to Preclude The Trial Testimony of

Shana Mell and the Opposition of Defendant District of Columbia, it is by the

Court this       day of                      .,2017

      ORDERED that the Motion be, and hereby is, GRANTED; and it is further

      ORDERED that Shana Mell is precluded from testifying at the trial of this

matter.


                                Rudolph Contreras
                           United States District Judge
            Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 20 of 52




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

VASHTI SHERROD, et al.,

               Plaintiffs,

       v.                                         Civil Action No. 16-cv-00816 (RC)

DISTRICT OF COLUMBIA, et al,

               Defendants.



               DEFENDANTS' SUPPLEMENTAL INITIAL DISCLOSURES

       Pursuant to Fed. R. Civ. P. 26 (a)(1)(A), Defendants, the District of Columbia and

Detective Phillip McHugh ("Defendants"), supplement their initial disclosures. The persons

listed below may have discoverable information regarding the events and facts alleged in the

Amended Complaint and may be relevant to Defendants' potential defenses.

Name                             Position                        Areas of Knowledge
Detective Sergeant Thomas        MPD- Detective McHugh's         Knowledge of Detective
Boone                            supervisor                      McHugh's investigation

Lieutenant Richard Brady         MPD First District              Approved and reviewed the
                                                                 arrest warrant
Shana Mell                       Policy Writer                   Knowledge of IACP and the
                                 MPD Policy and Standards        extent to which MPD relies on
                                 Branch                          IACP's policies
Sergeant Architzel               MPD -Officer Patel's            Knowledge of Officer Patel's
                                 supervisor                      interview of Ms. Schulz and
                                                                 the reason w

                                     Respectfully submitted,
                                     KARL A. RACINE
                                     Attorney General for the District of Columbia

                                     GEORGE C. VALENTINE
                                     Deputy Attorney General, Civil Litigation Division

                                                                                               EXHIBIT
           Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 21 of 52



                                           Michael K. Addo
                                           Chief, Civil Litigation Division Section IV

                                           I si David A. Jackson
                                           DAVID A. JACKSON [471535]
                                           Assistant Attorney General
                                           Office of the Attorney General
                                           441 Fourth Street, NW, Suite 630 South
                                           Washington, D.C. 20001
                                           (202)724-6618
                                           (202) 741-8999 (fax)
                                           davida.iackson@dc. gov

                                            /s/ Judson N. Kempson
                                            JUDSONN.KEMPSON1
                                            Assistant Attorney General
                                            441 Fourth Street, N.W., Suite 630 South
                                            Washington, DC 20001
                                            (202) 442-9845
                                            (202) 730-1897(fax)
                                           judson.kempson@dc.gov

                                           Counsel for Defendants




          Pursuant to LCvR 83.2 and D.C. Court of Appeals Rule 49(c)(4), admitted to practice only in the
Commonwealth of Virginia [90830] and practicing in the District of Columbia for the Office of the Attorney
General for D.C. under the direct supervision of Michael K. Addo, a member of the D.C. Bar.
           Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 22 of 52




            Law Offices of Peter T. Enslein p.c.
Peter T. Enslein
202.329.9949
peter@ensleinlaw.com

October 19,2017

Via U.S. and Electronic Mail
David A. Jackson, Esq.
Office of Attorney General of the District of Columbia
441 Fourth Street, NW, 6th Floor North
Washington, DC 20001

Re: Vashti Sherrod, et al. v. Phillip McHugh, et al
     U.S. District Court for the District of Columbia
     Civil Action No. 16-816 (RC)

Dear Mr. Jackson:

As you must be aware, the Court ordered that all fact discovery in this litigation be completed
by August 15,2017. Mr. Bynum and I were therefore astonished to receive Defendants'
Supplemental Initial Disclosures on October 17,2017 which names three new MPD employee
fact witnesses two months after the close of fact discovery. The post-close of fact discovery
disclosure of these witnesses - witnesses whose identity should have been known to you and
disclosed during the lengthy fact discovery period - makes it impossible for Plaintiffs to
depose the witnesses or take other relevant discovery concerning their testimony.

The District has once again flaunted the Scheduling Order's deadlines. There is no
justification for your untimely supplemental initial disclosures. I ask that you withdraw the
three witnesses by the close of business, Monday, October 23,2017. If you fail to do so, we
 intend move the Court to strike your tardy identification of these witnesses and prohibit their
trial testimony. The motion may also seek sanctions against the District for its blatant
discovery misconduct.




Peter

cc: Kenneth D. Bynum


   1738 Wisconsin Avenue, N.W. | Washington, D.C. 20007 1202.329.9949 Fax: 202.625.3490| www.ensleinlaw.com
          Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 23 of 52




                GOVERNMENT OF THE DISTRICT OF COLUMBIA
                        Office of the Attorney General


Attorney General
Karl A Racine
Civil Litigation Division

October 23,2017

Peter T. Enslein, Esquire
Law Offices of Peter T. Enslein, P.C.
1738 Wisconsin Avenue, NW
Washington, DC 20007

Sherrod v. McHugh, et al, CA. No. 16-cv-816 (RC)

Dear Mr. Enslein:

I am in receipt of your October 19,2017 letter regarding the Defendants' Supplemental Initial
Disclosures which was served on all counsel of record on October 17,2017. The Defendants
submit this letter in response. You state in your letter that you were "astonished to receive the
Defendants' Supplemental Initial Disclosures... which names three new MPD employee fact
witnesses" but you did not identify the "three new employee" you are complaining about. In any
event, the issue you raise in your letter is meritless.

First, the individuals identified in the Defendants' Supplemental Initial Disclosures are Detective
Sergeant Thomas Boone, Lieutenant Richard Brady, Shana Mell and Sergeant Michael Architzel.
Sergeant Boone and Lieutenant Brady were named in the Defendants' original Disclosures,
which was served on the all counsel on January 6,2017. Thus, the fact that I inadvertently
included them in the Supplemental Initial Disclosure is of no moment, and there is no basis to
exclude their testimony. Moreover, during Detective McHugh's deposition, Mr. Kenneth
Bynum put into the record the January 6,2017 Initial Disclosures. See McHugh Deposition
Exhibit 87 at P65:3-9. Mr. Bynum then proceeded to question Detective McHugh about
Sergeant Boone's and Lieutenant Brady's involvement in the Sherrod criminal investigation.
McHugh Dep. P67:19-P68:8; PI 19:8-11. The fact that neither Sergeant Boone nor Lieutenant
Brady was deposed was a conscious decision made by Plaintiffs' attorneys. Accordingly, the
Defendants will not withdraw their Supplemental Disclosures as to Sergeant Boone or Lieutenant
Brady.

 Second, Sergeant Michael Architzel was Officer Patel's immediate supervisor during the
relevant time period. As an initial matter, Sergeant Architzel's name was misspelled in Officer
Patel's deposition transcript as "Architzeo." Mr. Bynum questioned Officer Patel extensively
about the nature and substance of his conversation with Sergeant Architzel after Officer Patel's
interview of Ms. Schulz. Patel Dep P28:21-22; P37:17-P46:6; P60:4-8. Based on Officer Patel's
   441 Fourth Street, NW, Suite 630S, Washington, D.C. 20001, (202) 724-6618, Fax (202) 741-822JL
                                                                                                      EXHIBIT
        Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 24 of 52




testimony, Plaintiffs knew that Sergeant Architzel played a critical role in how Officer Patel
classified his report of the Schulz interview. Additionally, Plaintiffs expert, Philip Hayden, also
discusses the role Sergeant Architzel played in the classification of Officer Patel's police report.
See Hayden's Expert Report at p. 3. Although, Sergeant Architzel was not identified in the
original Initial Disclosures, Plaintiffs cannot in good faith claim surprise or that they are unfairly
prejudiced by the fact that Sergeant Architzel was only identified in the Defendants'
Supplemental Initial Disclosure. In essence, the Supplemental Initial Disclosure did nothing
more than tell Plaintiffs what they already knew, which was that Sergeant Architzel had relevant
information about the Sherrod criminal case. Accordingly, the Defendants will not withdraw
their Supplemental Disclosures as to Sergeant Architzel.

Lastly, as to Shana Mell, MPD policy writer, she was identified only after Defendants received
Mr. Hayden's expert report. Mr. Hayden relies heavily on IACP to establish a relevant standard
of care relating to criminal investigations, and applications process for securing arrest and search
warrants. The Defendants did not know the basis for Mr. Hayden's opinions until he produced
his expert report. Ms. Mell certainly can testify, pursuant to Fed. R. Civ. P. 30(b)(6), about the
extent to which MPD follows and/or relies on the IACP model policies. Accordingly, the
Defendants will not withdraw their Supplemental Disclosures as to Ms. Mell.

Sincerely,

KARL A. RACINE
Attorney General


By:
        )AVID A. JACKSON
       Assistant Attorney General

cc: Kenneth D. Bynum, Esquire
      David F. Grimaldi, Esquire




   441 Fourth Street, NW, Suite 630S, Washington, D.C. 20001, (202) 724-6618, Fax (202) 741-8999
                    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 25 of 52




              OmSlI              peter            Ens,eJn               <penslein@gmall.com>


       Sherrod v. McHugh - Plaintiffs' Expert Disclosure and Wright Declaration
       5 messages

       P e t e r E n s l e i n < p e t e r @ e n s l e i n l a w. c o m > M o n , M a y 8 , 2 0 1 7 a t 5 : 3 8 P M
       To: "Jackson, David (OAG)M <davida.jackson@dc.gov>, judson.kempson@dc.gov, d.grimaldi@mdgg.com
       Cc: Kenneth David Bynum <kbynum@bynumandjenkinslaw.com>, Kenneth David Bynum
       <kenbynurnattorney@gmail.com>


         Dear Counsel:

         Pursuant to Fed. R. Civ. P. Rule 26(a)(2) and the Scheduling Order, as
         amended, Plaintiffs here produce the expert report and disclosure information
         of Robert W. Klotz. Also attached is the declaration of fact witness Kenneth
         Wright.

         Regards,



         Peter T. Enslein




         Law Offices of Peter T. Enslein, P.C.
         1738 Wisconsin Avenue, NW
         Washington, DC 20007
         (202)329-9949

          2 attachments
          &s 2017 05 05 Report of Robert W. Klotz .pdf
          13 10371K

          &s 2017 04 27 Declaration of Kenneth Wright.pdf
          ^990^




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   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 26 of 52




                        ROBERT W. KLOTZ
                           Consultant
                      3210 Havenwood Court
                    Edgewater, Maryland 21037
                         (410) 798-6868
E-mail: rklotzl026@aol.com Fax: (410)798-0371

                                 May 5,2017
Peter T. Enslein, Esquire Kenneth D. Bynum, Esquire
Law Offices of Peter T. Enslein, P.C. Bynum & Jenkins
1738 Wisconsin Avenue, N.W. 1010 Cameron Street
Washington, D.C. 20007 Alexandria, VA 22314

Re: Vashti Sherrod. et al. v. Phillip McHugh. et al.

Dear Mr. Enslein and Mr. Bynum:

       The following report is submitted in compliance with Federal Rule
of Civil Procedure 26(a)(1). My background and experience are
contained in my resume that is enclosed as Attachment #1. I have not
authored any articles in the past ten years. My fees for work performed
are contained in my Fee Schedule that is enclosed as Attachment #2; I
have been paid $2,500 to date. A list of cases in which I have been
deposed and/or testified in court is enclosed as Attachment #3. A list of
the materials I have reviewed and relied upon in arriving at my opinions
in this matter are listed in Attachment #4.

      You have requested that I review the materials you have provided
to determine if the action by the members of the Metropolitan Police
Department (MPD) named in the above captioned litigation were in
conformance with national police standards. My review evaluates the
members' actions from the prospective of a reasonable officer and will
consider the totality of circumstances that were involved.

       As noted in my resume, I spent twenty-five years with the
Metropolitan Police Department Initially, I was an officer, responding
to calls for service, investigating crimes, and making arrests. Later, as
an Official/Supervisor, I was responsible for the training and

                                                                            EXHIBIT
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 27 of 52




supervision of those under my command. I served in assignments in
various police Districts, the Planning and Development Division, and
later as the Commander of the Internal Affairs Unit While assigned as
The Commanding Officer of the Personnel and Training Divisions, I was
assigned by the Chief of Police to construct and administer the
examinations for officers seeking to become Detectives and those
Detectives seeking to become Detective Grade One. Later, I was the
Deputy Chief Commander of the Special Operations & Traffic Divisions.
 During my tenure, I also travelled the country lecturing for the
International Association of Chiefs of Police (IACP).

       After my retirement in 1980,1 continued lecturing for the IACP
and worked for a similar group known as Murphy and Associates. In
this capacity, I engaged in reviews of various police agencies to
recommend various methods of improved services. While with this
organization, I also participated in the training of senior police officials
from a number of foreign countries under contract with the U.S.
Department of State. Under the contract, we prepared lesson plans for
the students that involved obtaining and utilizing department directives
from throughout the United States. I also began testifying in various
courts as an expert witness in "Police Practices and Procedures" in some
thirteen States and the District of Columbia.

                                Discussion

       The purpose of this report is to evaluate the conduct of the
District of Columbia Metropolitan Police Department ("MPD") during
the criminal investigation of the May 14,2015 altercation between Ms.
Schulz and Mrs. Sherrod, as well as the specific actions of Det McHugh
during this investigation. I have used the Model Policies put forth by
various professional police organizations, in my evaluation of the
actions of the MPD law enforcement officers involved in this case.1 The

i Along with the IACP Model Policies, I reviewed the National Standards
set by the United States Constitution; the 1973 National Advisory
Commission on Criminal Standards and Goals; multiple police
department directives from departments across the country on the
subjects of probable cause, searches, seizures, and police activity; the
writings of experts in the field, including the text entitled "Police
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 28 of 52




IACP's Model Policies have been widely accepted by police departments
in the United States and reflect generally accepted standards for law
enforcement conduct in this country.

       The event giving rise to this litigation occurred on May 14,2015,
at approximately 11:30 a.m., in front of the Gingko Gardens plant store,
located at 91111th Street S.E., Washington, D.C. The plaintiffs, Mrs.
Vashti Sherrod and her husband, Mr. Eugene Sherrod, were seated in
their parked automobile when the drivers' side rear view mirror was
struck and damaged by an Isuzu Truck owned and operated by Ms.
Diane L. Schulz. Ms. Schulz and the Sherrods exited their vehicles, and
an altercation between Ms. Schulz and Mrs. Sherrod ensued. There is
video footage of this encounter, captured by a Gingko Garden's security
camera. Immediately after leaving the scene, Ms. Schulz notified her car
insurance company, USAA, of the accident See Schulz Dep. at 67:18-
 72:3. However, Ms. Schulz did not call the Metropolitan Police
 Department to report the incident until approximately 7:00 p.m. on May
 14,2015, when she placed a call to the District of Columbia's 911
emergency telephone number. Id. at 75:3-76:14.

Officer Patel's Preliminary Investigation

      According to the IACP Model Policy for Criminal Investigations, a
criminal investigation is defined as "[t]he collection of facts and
information intended to identify an offender and to organize facts and
information in a way that presents evidence sufficient for criminal
charges" Model Policy for Criminal Investigptions at 1 (emphasis
supplied). "Normally, criminal investigations consist of a preliminary
investigation, generally conducted by the responding patrol officer and,
if necessary, a follow-up investigation performed by investigative



Administration," authored by O.W. Wilson, former Chief of Police in
Chicago and Dean of Criminology University in California, often referred
to as the "Father of Police Administration"; and the Professional
Standards set forth by the Commission on Accreditation of Law
Enforcement Agencies, a professional organization that consists of
members of the IACP, the National Sheriffs Association (NSA), and the
Police Executive Research Foundation (PERF).
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 29 of 52




services." See IACP Criminal Investigations Concepts and Issues Paper
at 1. "[I]t is very important that patrol officers and first line supervisors
have a broad understanding of the criminal investigation process in
order to ensure that they take those measures and avoid missteps that
will better ensure the overall success of criminal investigations." Id. at 1.

       The initial investigation was performed by Officer Sapan T. Patel
of the First District, who responded to the MPD dispatcher's request for
assistance following Ms. Schulz's 911 call. See Patel Dep. at 22:4-20.
Officer Patel, who ultimately interviewed Ms. Schulz about the incident
had completed his police academy training only eight months before
responding to Ms. Schulz's 911 call. Id. at 12:20-13:2. Moreover, Officer
Patel had only been working on his own, without another more senior
officer accompanying him, since December of 2014. Id. at 13:19-14:15.
Officer Patel admitted during his deposition testimony that he did not
receive training specific to taking notes of interviews in the police
academy, but rather was merely trained in what information should be
gathered to complete a report in the MPD's I/Leads system. Id. at 16:2-7.

      According to the IACP Model Policies for Criminal Investigations,
officers conducting a preliminary investigation should "[t]ake written
notes and conduct voice recordings whenever possible." Officer Patel
took handwritten notes during his interview of Ms. Schulz. His notes
contain only one reference to a gun: "big black gun under the driver's
seat" (Ex. 3a). After completing the interview, Officer Patel purportedly
returned to his patrol car and prepared his incident report (Exhibit 6
police report #15070009; See Patel Dep. at 51:18-52:6), in which he
wrote:

      C-l [Ms. Schulz] stated that S-l [Mrs. Sherrod] said "I'm not going
      to tell you my name, I'm going to get my gun." C-l stated that S-l
      then reached beneath the front passenger seat and brandished a
      large black handgun. C-l then immediately got into her vehicle
      and drove away.

See Exhibit 6.


       Accurate note taking by investigating police officers a matter of
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 30 of 52




particular importance.
     Note taking is important when conducting a preliminary
     investigation and is vital to a successful criminal investigation...
     Notes should be legible, understandable, accurate, and complete,
     as they will serve to facilitate the officer's memory and may need
     to be used in court where their accuracy may be challenged...
     Before a patrol officer turns the case over to investigative
     services, he or she must be certain that the preliminary report is
     clear and all information detailed. The information should have
     been collected in such a way that investigators would not need to
     repeat the steps of the preliminary investigation but would have
     an outline for developing effective follow-up plans.

See Criminal Investigations Concepts and Issues Paper at 2-3.

       It is impossible to reconcile the disparity between Officer Patel's
handwritten interview notes regarding what Ms. Schulz allegedly told
him during the interview about the gun with his description of the
events of the interview in the report that he prepared within minutes of
the interview's conclusion. Significantly, Ms. Schulz would ultimately
change her story about what the alleged gun looked like several times
after this initial interview, ultimately admitting in deposition that she
never saw a gun in Mrs. Sherrod's possession at any time. See Schulz
Dep. at 63:20-64:20; 83:4-16. At a minimum, Officer Patel failed to
properly interview Ms. Schulz and failed to meet the standard required
of a police officer to prepare "understandable, accurate, and complete"
notes in this case.

      Officer Patel testified that he had initially desired to classify the
reported offense as an "assault with a dangerous weapon" (ADW), a
felony, although he admitted that this assessment was not contained in
his report or his notes from the interview. See Patel Dep. at 42:8-22.
Officer Patel discussed with his supervisor, Sergeant Architzeo, the
specifics of his conversation with Ms. Schulz, including information
about Mrs. Sherrod allegedly pulling a gun on Ms. Schulz. Nevertheless,
Sergeant Architzeo directed Officer Patel to classify the alleged crime as
"threats to do bodily harm," a misdemeanor, which is reflected in the
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 31 of 52




police report that Officer Patel prepared. Id. at 37:1-40:21; 42:2-43:14,
Ex 6.

Detective McHugh's Follow-Up Investigation

       The following day, on May 15,2015, Det McHugh was assigned to
the case in order to conduct a follow-up investigation. 'The primary
goal of the follow-up investigation is to gather information and
evidence." See IACP Criminal Investigation Concepts and Issues Paper at
5. "To accomplish this goal, the investigator may decide to re-interview
the victim, any witnesses or others in the hope that additional
information can be uncovered." Id. "When the investigator re-
interviews the victim and witnesses, he or she must test and retest the
validity of their statements." Id. "The investigator must be able to
 recognize that factors of fear, stress, relationship, friendship, or
 dishonesty color and affect the credibility of the responses." Id.
 "Information obtained by persons should ... be primarily categorized as
 investigative leads rather than positive evidence of a suspect's guilt or
 innocence." Id.

       At the time that he commenced the follow-up interview of Ms.
Schulz, Det McHugh had only recently graduated from Detective school,
just three months before being assigned to investigate the May 14,2015
incident See McHugh Dep. at 31:17-22. Moreover, at that point; Det
 McHugh was considered only an "investigator" and was completing a
one-year probationary period. Id. at 38:6-39:4. Det McHugh did not
become a "Det" until after his involvement in the case had ended. Id. at
38:21-39:4.

       On May 15,2015, Officer Patel spoke to Det McHugh about his
interview of Ms. Schulz. Officer Patel told Det McHugh that Sergeant
Architzeo had previously advised him not to classify this incident as an
ADW. See Patel Dep. at 44:19-45:12. While not his immediate
supervisor, Sergeant Architezo was an officer of higher rank and with
more experience than Det McHugh. Id. at 45:22-46:6. Nevertheless,
against the advice and judgment of a superior officer who had spoken to
Officer Patel immediately after the initial interview with Ms. Schulz, and
without any additional or different information than was available to
Sergeant Architezo at the time that he made his initial assessment, Det
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 32 of 52




McHugh appears to have unilaterally decided to reclassify this alleged
offense as a felony ADW and investigate the matter as such. See Patel
Dep. at 45:16-21.

       Det McHugh believed that Sergeant Architezo directed Officer
Patel to classify the alleged incident as a threat report due to a "delay in
reporting," as Ms. Schulz had waited approximately seven hours before
calling the police about this alleged event See McHugh Dep. at 76:6-10;
275:7-12. It is important to note that the IACP considers the question of
"Was the amount of time between the crime's occurrence and the
notification of the police normal?" an important factor for an
investigating police officer to consider when assessing the credibility of
a complaining witness. See Criminal Investigations Concepts and Issues
Paper at 2. Det McHugh admitted that he considered Ms. Schulz's long
delay in reporting "strange." McHugh Dep. at 83:2-15.

         "[A] typical follow-up investigation outline" consisting of 19
activities. IACP, Criminal Investigation, Concept and Issues Paper at 4. Of
relevance to this case are the following activities that Det McHugh
employed in his follow-up investigation: Telephone the victim,"
"Interview the victim, witnesses, and potential witnesses," "conduct a
records search," "transmit all-points bulletins and other official
communications," "prepare required reports and records on case
progress" and "contact other government agencies." Id.

       Moreover, the IACP Model Policy for Criminal Investigations
 provides that an officer in charge of a follow-up investigation should
"search for new witnesses," "complete background checks on witnesses,
victims, and suspects as appropriate," and "seek additional information
from other officers" In this case, it does not appear that Defendant
McHugh completed any of these crucial steps during his follow-up
investigation of the May 14,2015 incident Specifically, Defendant
McHugh failed to search for, locate, or interview an eye-witness of the
incident; Mr. Wright; an employee of Gingko Gardens who was plainly
visible in the surveillance video obtained and reviewed by Det McHugh.
Det McHugh likewise failed to seek additional information from
Sergeant Architezo, a senior officer who had reviewed the evidence
from Officer Patel's initial interview of Ms. Schulz and determined that
the case should properly be investigated as a misdemeanor weapon's
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 33 of 52




charge rather than a felony ADW charge. Defendant McHugh also flailed
to investigate Ms. Schulz, the alleged victim, to properly judge her
credibility and any underlying ulterior motives that may have led her to
file a report of this incident of the MPD long after the incident had
concluded. These failures are discussed more fully later in this report

        On May 15,2015, Det McHugh interviewed Ms, Schulz at her
apartment According to Det McHugh, during their meeting, Ms. Schulz
claimed that during the May 14,2015 incident "Mrs. Sherrod went to
her car and reached under the driver's seat, pulling out what Schulz
described as a black semi-automatic pistol similar to what a police
officer would carry." (emphasis supplied) See McHugh Answer to
Request for Admission No. 32. Contrary to IACP policy, Det McHugh
failed to take detailed notes during his investigation and denied taking
any notes other than those sparse notes contained in the exhibits of
record. See McHugh Depo. at 87-88,286-87; IACP Criminal
Investigations Concepts and Issues Paper at 6-7 ("As with the
preliminary investigation, it is important for Detectives to record all
information obtained during the follow-up investigation. A Det must
develop the sound habit of taking legible and accurate notes... from the
moment he or she arrives on the scene... The importance of note taking
by preliminary investigators and investigative personnel is again
underscored. Field notes should be taken as facts are learned and as
evidence is obtained. These notes are the foundation of the investigative
report; therefore, it is important that they be clear and concise.")

       During the afternoon of May 15,2015, Det McHugh visited Gingko
Gardens and interviewed Matthew Roberts, an individual Ms. Schulz had
told him was someone to whom he should speak. See McHugh Dep. at
116:7-118:1. Mr. Roberts, according to Det McHugh, did not have
anything significant to add about the event Id. at 118:2-7. Det McHugh
stated that on May 14,2015, Mr. Roberts was inside the upper level of
the shop when he heard an argument outside that went on for an
extended period of time. Id. at 118:8-16. However, Mr. Roberts stated
that he never looked to see what was going on or who was involved. Id.

       Det McHugh also located a video of the incident, recorded by a
Gingko Gardens security camera, and watched it on the computer in the
flower shop. Id. at 118:17-5. Det McHugh downloaded the video and


                                    8
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 34 of 52




brought it back to the police station, where he showed it to his
supervisor, Lieutenant Richard Brady. Id. at 119:6-11. The video,
according to McHugh, was "grainy and not clear," and he could not tell
whether Mrs. Sherrod had a gun in her hand at any point during the
encounter. Id. at 119:14-16; 147:16-18; 157:15-20. Note that the IACP
considers the question of "Does the physical evidence support the facts
of the crime related by the victim?" an important fiactor for an
investigating police officer to consider when assessing the credibility of
a complaining witness. See Criminal Investigations Concepts and Issues
Paper at 2. Despite the poor quality of the surveillance video, Defendant
McHugh did not seek to have the video-recording enhanced in order to
see what was in Mrs. Sherrod's hand more clearly and, in fact, did not
even ask whether such enhancement would be possible. Id. at 267:2-10.

      The video does not corroborate and, in feet; contradicts the
allegations that Ms. Schulz had asserted against Mrs. Sherrod.
Moreover, the video shows the presence of Gingko Gardens employee
Kenneth Wright; who witnessed the May 14,2015 altercation between
Ms. Schulz and Mrs. Sherrod. See Wright Declaration at 1f 4. Despite Mr.
Wright clearly appearing in the video during the time of the event; Det
McHugh never sought out or interviewed Mr. Wright See McHugh Dep.
at 119:17-120:14; Wright Decl. at fl 6. Had Det McHugh interviewed
him, Mr. Wright "would have told the investigator that no gun was used
or displayed by Mrs. Sherrod or anyone else involved in the May 14,
2015 altercation." Wright Decl. at1[ 6.

       A critical part of any police investigation is the identification and
interview of witnesses to an alleged crime and determining whether
there are "any discrepancies in the statements of victims and
witnesses." See Criminal Investigation Concept and Issues Paper at 2.
This should include attempting to locate any potential witnesses at the
scene of the alleged offense, as well as canvassing the neighborhood or
surrounding area for any witness that may exist Id. The significance of
the failure of Det McHugh to identify and interview Mr. Wright cannot
be over stated. This witness plainly contradicted Ms. Schulz' story and,
as Det McHugh would learn, supported Mrs. Sherrod's position that she
did not own a gun and did not display or point one at Ms. Schulz at any
time during the May 14,2015 incident
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 35 of 52




       At no time after his initial meeting with Ms. Schulz did Det
McHugh show Ms. Schulz the video of the incident See McHugh Dep. at
140:16-142:13; 255:6-256:3. Det McHugh's investigation also never
included a review of Ms. Schulz' social media profile, a tactic McHugh
testified is a widely accepted means of criminal investigation. Id. at
47:7-49:14; 59:3-60:9. In fact, Defendant McHugh testified that he did
not locate or view any of Ms. Schulz' social media profiles until the day
of the Grand Jury witness conference, after Mrs. Sherrod had already
been arrested for the alleged offense. Defendant McHugh confirmed
that he had looked at Ms. Schulz' Twitter account (Id. at 59:22-60:6);
however, he failed to find publicly available Tweets in which Ms. Schulz
admitted that she suffered from bipolar disorder and depression.
 McHugh Dep. at 61:4-13; Ex. 83.

      On May 16,2016, Det McHugh, accompanied by officers from the
Prince George's County Police Department, went to interview Mrs.
Sherrod at her Mitchellville, Maryland home. Mrs. Sherrod was not at
home, and Det McHugh left his business card in her mailbox. On the
back of the card, Det McHugh had handwritten a note asking Ms.
Sherrod to call him at the telephone number listed on his card.

       On May 16,2015, Det McHugh posted a felony lookout on the
NCIC system for the Sherrod's car, describing it as "felony vehicle" and
instructing any police officer who located the vehicle to immediately
stop and "secure the vehicle for forensic processing, hold all occupants
[and] contact Investigator Phillip McHu^i of the First District
Detective's Unit" See Exs. 14,15. Det McHugh also made inquiries
with Maryland and federal law enforcement agencies regarding whether
either of the Sherrods had purchased a gun or had a permit to possess a
gun. As McHugh's inquires revealed, all agencies reported that neither
Mr. nor Mrs. Sherrod had a registered gun or a permit to possess one.
See McHugh Dep. at 145:19-146:13; 183:17-22; 216:3-10.

      Over the next several days, Mrs. Sherrod called and left messages
for Det McHugh on his telephone's voicemail. Det McHugh did not
respond to any of the telephone messages that Mrs. Sherrod left for him.
On May 21,2015, Mrs. Sherrod was finally able to reach Det McHugh by
telephone. Det McHugh explained to her that he was investigating a
complaint from Ms. Schulz alleging that Mrs. Sherrod had pointed a gun

                                    10
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 36 of 52




toward Ms. Schulz in the aftermath of the May 14,2015 motor vehicle
collision and that the alleged assault had been captured on videotape.
In her telephone conversation with Det McHugh, Mrs. Sherrod
emphatically told Det McHugh that she did not own a gun and had not
pointed a gun at Ms. Schulz at any time.

      By this point in time, Det McHugh had sought an arrest warrant
for Mrs. Sherrod from the U.S. Attorney's Office ("USAO") for the District
of Columbia, which had been denied because the USAO determined that
the surveillance video is not clear enough to determine what was in Mrs.
Sherrod's hand and, consequently, there was insufficient probable cause
to support the issuance of an arrest warrant See Exhibit 38, McHugh
Dep. at 197:18-199:15.

       On June 23,2015, Defendant McHugh contacted Detective
Simmons of the City of Bowie Police Department, requested that she file
an application in the Circuit Court for Prince George's County, Maryland
for a search warrant for the Sherrod's home, and provided her with a
draft search warrant application. Det Simmons relied entirely on the
information supplied to her by Det McHugh and did not independently
view the video recording of the May 14,2015 incident McHugh Dep. at
170:10-172:15. This, in effect; made the application for the search
warrant entirely that of Det McHugh. On June 29,2015, Det Simmons
applied for and obtained a search warrant from Prince George's County
Circuit Court Judge Michael P. Whalen.

      In the application for the search warrant for the Sherrod's home
that Det McHugh drafted (and later in the warrant for Mrs. Sherrod's
arrest), Det McHugh consistently wrote the following:

      The video corroborates C-l's [Ms. Schulz's] series of events. The
      video shows Vashti Sherrod bend down at the driver's seat of her
      Mercedes and emerge with her right arm raised as if pointing
      something at [Ms. Schulz]. Sherrod walks toward [Ms. Schulz],
      who then abruptly reenters her vehicle and leaves the scene. The
      video quality is not clear enough to see what Sherrod has in her
      hand, but [Ms. Schulz] described it as a black pistol.

See Exs. 30,40,53.


                                   11
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 37 of 52




      However, the video, in fact; does not show Mrs. Sherrod bending
down and then raising her arm and pointing something at Ms. Schulz. It
does not show Mrs. Sherrod walking toward Ms. Schulz. It also does not
show Ms. Schulz abruptly reentering her vehicle and leaving the
scene. The following is the actual sequence of events recorded in the
video, along with the times each event occurred:

26:25 Sherrod bends over in her car
26:33 Sherrod visible again
26:36-44 Sherrod talking to Schulz. Schulz continues bending over
          hood of Sherrod's car, then starts walking away.
26:45-48 Schulz starts walking back toward Sherrod and faces her,
          standing very close to Sherrod's person.
26:49-51 Schulz starts walking away again and walks behind her
          truck
26:52-55 Schulz turns and faces Sherrod. Sherrod is carrying a black
          handbag.
26:56 Schulz faces Sherrod, again very close to her person
26:59 Sherrod points her finger at Schulz and walks in between
           the vehicles
27:03-07 Schulz walks in between the vehicles and again confronts
           Sherrod
           Sherrod is standing upright and visible.
27:09 Schulz starts to walk away toward back of truck, but turns
           around and faces Sherrod for a third time
27:10-13 Sherrod points at Schulz with her hand outstretched and
           continues pointing at her with her arm raised as Schulz
           calmly walks away
27:16 Schulz gets into her truck
27:17 Sherrod appears to be looking through the passenger
           window of the truck
 27:22 Sherrod gets in her car
 27:34 Schulz drives off

       Mrs. Sherrod is not shown to be bending over and into her vehicle
just prior to pointing her arm at Ms. Schulz. In fact; she is shown to be
bending over at the driver's side of her car approximately 45 seconds
prior to the time she points her arm toward Ms. Schulz. Ms. Schulz does

                                   12
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 38 of 52




not get into her car and leave immediately after Ms. Sherrod pointed her
arm at her, but delays leaving for 21 seconds, during which time Ms.
Sherrod is shown to be appearing to continue to talk to Ms. Schulz
through the passenger window.

      On June 24,2015, the Sherrods, while operating their vehicle in
the District of Columbia, were stopped by members of the U.S. Capitol
Police with their guns drawn and pointed at Mr. and Mrs. Sherrod. This
stop occurred as a result a result of NCIC felony lookout that Det
McHugh had issued. The language which Det McHugh used in the
lookout request made it virtually certain that any law enforcement
personnel who approached the Sherrod's car would do so with their
weapons drawn. In fact, Det McHugh testified that he would not find it
surprising if an officer who stopped the Sherrods' vehicle used their
own guns in an effort to effect the stop of the vehicle. See McHugh Dep.
at 133:13-134:3.

       Det McHugh was notified and responded to the scene. After
obtaining Mrs. Sherrods permission (which Mrs. Sherrod maintained in
her deposition was coerced see V. Sherrod Dep. at 225:9-17), Det
McHugh conducted a search of their vehicle for a gun, with negative
results.2 However, despite the felony lookout that he had issued for the
couple and their automobile, Det McHugh did not arrest Mrs. Sherrod
and released her and her husband after completing the search of their
car. See McHugh Dep. at 184:16-21. These events also occurred after
Det McHugh had sought an arrest warrant from the U.S. Attorney's
Office and had been denied due to a lack of probable cause based upon
the impossibility to determine what Mrs. Sherrod had in her hand
during the May 14,2015 incident See Exhibit 38, McHugh Dep. at
197:18-199:15.

     Thereafter, on July 7,2015, at approximately 9:00 p.m., Det
McHugh, with the assistance of members of the City of Bowie and Prince
George's County Police Departments, executed the search warrant for

2 The IACP Model Policies for Obtaining Search Warrants specifically
provides that where consent for a warrantless search is obtained
improperly, such as through coercion, the search is rendered illegal. See
IACP Obtaining Search Warrant Concepts and Issues Paper at 2.

                                   13
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 39 of 52




the Sherrod's home. A forced entry took place and, after searching for
over an hour throughout the entire house and garage, no gun was found.
McHugh Dep. at 205:6-14,214:1-219:4.

       Eventually, Det McHugh, with the assistance of the U.S. Attorney's
Office, on July 10,2015, managed to obtain an arrest warrant for Mrs.
Sherrod on the felony ADW charge. In the early hours of July 21,2015,
Mrs. Sherrod, with her attorney, went to the First District to comply
with the warrant and surrendered to Det McHugh. She was then
arrested, handcuffed, booked, and transported to the Superior Court of
the District of Columbia for processing. Several months later, after
hearing the testimony of Ms. Schulz and Det McHugh, the Grand Jury
refused to indict Mrs. Sherrod, and the ADW charge was dismissed by
the U.S. Attorney's Office.

       During the time between their initial meeting on May 15,2015
and the Grand Jury proceedings in the Fall of 2015, Ms. Schulz did not
speak with Det McHugh or view the videotape of the May 14,2015
incident See McHugh Dep. at 240:10-20; 255:6-9; 258:15-18. In the Fall
of 2015, Ms. Schulz was interviewed in advance of her Grand Jury
testimony by the prosecutor assigned to the case, Assistant U.S.
Attorney Lisa Walters, and Det McHugh. During the interviews, it
became apparent to Det McHugh that Ms. Schulz had insurmountable
credibility issues. Significantly, Ms. Schulz' demeanor and her
description of the gun changed dramatically ("So the color of the gun
was something that was - was different And then when we explored
that more with [Ms. Schulz], she - she sort of backed - backed off of it
being silver, and changed it to, Well, it was metal, and I got a glint of the
metal that was being pointed at me.") See McHugh Dep. at 245:5-20;
249:1-205:3; 259:6-22; 260:22-261:6-262:2. Equally important to Det
 McHugh was Ms. Schulz' confession in her pre-Grand Jury testimony
interview that she was mentally ill and suffered from bi-polar disorder -
a revelation which caused Det McHugh to completely change his view of
her and doubt her credibility. Id. at 243:9-244:22; 247:18-249:10. After
hearing the testimony of Ms. Schulz and Det McHugh, the Grand Jury
 refused to indict Mrs. Sherrod, and, on January 6,2017, the ADW charge
 was dismissed by the U.S. Attorney's Office. Id. at 291:14-293:1, Ex. 78.




                                     14
    Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 40 of 52




                                 Opinions
      It is my opinion: (1) that the criminal investigation performed by
the MPD and, in particular, Det McHugh, was flawed and fell below the
standard of care set by the IACP; (2) that; as a result, Det McHugh failed
to determine from the outset that thereiacked probable cause to
prosecute Mrs. Sherrod of assault with a deadly weapon;3 (3) that Det
McHugh's actions during his follow up investigation of the May 14,2015
incident was not that expected of a reasonable officer similarly situated;
his actions were contrary to national police standards for probable
cause for an arrest and he conducted a follow up investigation that no
reasonable police officer would believe to be proper; (4) that Det
McHugh in his reports and actions during his follow-up investigation
submitted police reports that were misleading and contained false
information and took actions that were contrary to national police
standards for such activities, and that no reasonable police officer
would believe this to be proper; (5) that Det McHugh, in continuing to
attempt to prosecute Mrs. Sherrod despite the information obtained
during his follow up investigation, acted contrary to national police
standards and that no reasonable officer would believe this to be
proper; and (6) that Det McHugh's supervisors, who were monitoring
his actions during his investigation, took no steps to prevent Det
McHugh from taking actions such as pursuing the arrest and
prosecution of Mrs. Sherrod; failed to properly supervise, correct, and
prevent the improper prosecution of Mrs. Sherrod; failed to adequately
perform their supervisory duties; and thereby violated national police

3 The IACP defines probable cause to affect an arrest as: "When facts
and circumstances within an officer's knowledge are sufficient to
warrant a prudent person, or one of reasonable caution to believe that
the suspect has committed, is committing, or is about to commit an
offense." IACP Arrest Model Policy at 1 (citing Michigan v. DeFillippo,
443 U.S. 31 (1979)). Among sources I also reviewed regarding probable
cause for arrest is the sections of the text "Legal Guide for Police,
Constitutional Issues, by John C. Klotter, J.D 5th Ed., Chapter 3, Authority
to Detain. This text provides that probable cause, once exhibited, can be
enhanced or diminished by other factors that later become available to
the investigating officer.


                                    15
   Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 41 of 52




standards, conduct that no reasonable police supervisor would believe
to be proper.

                            Submitted by:



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                              Consul




                                  16
            Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 42 of 52



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

VASHTI SHERROD, et al,

                 Plaintiffs,

       v.                                           Civil Action No. 16-cv-00816 (RC)

DISTRICT OF COLUMBIA, et al.,

                 Defendants.



                               DEFENDANTS* INITIAL DISCLOSURES

       Pursuant to Fed. R. Civ. P. 26 (a)(1)(A), Defendants, the District of Columbia and Officer

Phillip McHugh ("Defendants"), submits their initial disclosures. The persons listed below may

have discoverable information regarding the events and facts alleged in the Amended Complaint

and may be relevant to Defendants' potential defenses.


Name                                Position                      Areas of Knowledge
Sapan T. Patel                      Metropolitan Police           Knowledge of Plaintiff Vashti
                                    Department (MPD) Officer      Sherrod's arrest and incident
                                                                  involving Defendant Diane
                                                                  Schulz
Walter S. Faryninarz                MPD Officer                   Knowledge of the incident
                                                                  involving Defendant Diane
                                                                  Schulz
Thomas E. Boone                     MPD Officer                   Knowledge of Plaintiff Vashti
                                                                  Sherrod's arrest and incident
                                                                  involving Defendant Diane
                                                                  Schulz
Richard Brady                       MPD Officer                   Knowledge of Plaintiff Vashti
                                                                  Sherrod's arrest
David Edelstein                     MPD Officer                   Knowledge of Plaintiff Vashti
                                                                   Sherrod's arrest
Denise Fuller                       MPD Officer                   Knowledge of Plaintiff Vashti
                                                                   Sherrod's arrest
Anika A. Simmons                    Prince George's (PG) County    Knowledge of the search upon
                                    Detective                      Plaintiffs' home
James Pettit                        PG County - Maryland           Knowledge of Plaintiff Vashti
                                                                                               EXHIBIT
            Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 43 of 52



                                  Coordination and Analysis      Sherrod's charge of Assault
                                  Center                         with a Dangerous Weapon
                                                                 (ADW)
Susan P. Wittrock                 U.S. Department of Justice     Knowledge of Plaintiff Vashti
                                                                 Sherrod's charge of Assault
                                                                 with a Dangerous Weapon
                                                                 (ADW)
Steve McDonald                    MPD Officer                    Knowledge of the search of
                                                                 Plaintiff Vashti Sherrod's
                                                                 vehicle
Brian K. McDaniel                 Plaintiffs prior attorney      Knowledge of Plaintiff Vashti
                                                                 Sherrod's arrest and incident
                                                                 involving Defendant Diane
                                                                 Schulz
Legacy User                       MPD Officer                    Knowledge of Plaintiff
                                                                 Eugene Sherrod's prior arrest
Ty Truong                         MPD Officer                    Knowledge of a prior
                                                                 unrelated incident involving
                                                                 the theft of Plaintiff Vashti
                                                                 Sherrod's personal belongings
E.G. Fowler                       MPD Lieutenant                 Knowledge of the incident
                                                                 involving Defendant Diane
                                                                 Schulz
D. Whitaker                       MPD Sergeant                   Knowledge of the incident
                                                                 involving Defendant Diane
                                                                 Schulz



       Any documents, electronically stored information, and tangible things that may support
Defendants' potential defenses were produced via electronic mail on January 6, 2017 in

Defendants' Responses to Plaintiffs Requests for Production of Documents. These documents

include the following:

       1. Documents associated with Plaintiff Vashti Sherrod' s arrest.

       2. Documents associated with Plaintiff Vashti Sherrod's charge of Assault with a

            Dangerous Weapon.
       3. Documents associated with Detective Anika Simmons' application for a search

            warrant of Plaintiffs' property.
           Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 44 of 52



       4. Emails associated with Plaintiff Vashti Sherrod's arrest and search of Plaintiffs'

           home.

       5. Plaintiff Vashti Sherrod's arrest packet.

       6. Plaintiff Eugene Sherrod's Public Incident and Public Traffic packets.

       7. Surveillance footage of the incident involving Defendant Diane Schulz.



The District is self-insured, and, therefore, this is no insurance agreement to be produced.


                                      Respectfully submitted,
                                      KARL A. RACINE
                                      Attorney General for the District of Columbia

                                      GEORGE C. VALENTINE
                                      Deputy Attorney General, Civil Litigation Division

                                      /s/ Michael K. Addo
                                      Chief, Civil Litigation Division Section IV

                                      /s/ David A. Jackson
                                      DAVID A. JACKSON [471535]
                                      Assistant Attorney General
                                      Office of the Attorney General
                                      441 Fourth Street, NW, Suite 630 South
                                      Washington, D.C. 20001
                                      (202)724-6618
                                      (202) 741-8999 (fax)
                                      davida. i ackson@dc. gov

                                      /s/ Tram T. Pham
                                      TRAMT.PHAM [1034963]
                                      Assistant Attorney General
                                      Office of the Attorney General
                                      441 Fourth Street, N.W., 6th Floor South
                                      Washington, D.C. 20001
                                      (202) 724-6644
                                      tram.phamfgtdc. gov
                                       Counsel for Defendants
         Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 45 of 52




                               PHILIP P. HAYDEN, Ed.D.
                            CONSULTANT/EXPERT WITNESS
                              11602 Stonewall Jackson Drive
                               Spotsylvania, Virginia 22551
                                     (540) 972-7658

                 Facsimile: (540) 972-2659 E-Mail: phil@haydenasc.com

                                        September 30,2017

Kenneth D. Bynum
Bynum & Jenkins
1010 Cameron Street
Alexandria, VA 22314

Peter T. Enslein
Law Offices of Peter T. Enslein, P.C.
1738 Wisconsin Avenue, N.W.
Washington, D.C. 20007

Re: Vashti Sherrod, et al. v. Phillip McHugh, et al.
      U.S. District Court for the District of Columbia
      Civil Action No. 16-816 (RC)

Dear Messrs. Bynum and Enslein:

I am writing to report the results of my review of the depositions, documents, and video and
audio recordings that you have provided to me regarding the above-captioned case to determine
whether the actions of Detective Philip McHugh and Officer Sapan T. Patel described in the
materials conformed to the national standards for police conduct.

Among the materials I reviewed was the report of Robert W. Klotz, dated May 5,2017 (the
"Klotz report"). I independently verified the facts set forth in Mr. Klotz's report upon which his
opinions are based. I agree with the methodologies that Mr. Klotz used in reaching his opinions
and concur with his conclusions.

The following report is being submitted in accordance with Rule 26(a)(1) of the Federal Rules of
Civil Procedure. I have not authored publications in the past ten years.

       Attachment #1 - My curriculum vitae containing my background and experience.

       Attachment #2 - My fee schedule. I have been paid $3,000 as a retainer for my work to
       date in this case.

       Attachment #3 - A list of materials I have received and reviewed from attorneys Kenneth
       D. Bynum & Peter T. Enslein


                                                                                                     EXHIBIT
            Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 46 of 52




        Attachment #4 - A listing of other cases in which I have testified in either deposition or
        trial.

        After a review of the materials listed in Attachment #3,1 have reached the following
        opinions and conclusions:

Methodology

The principles of police practices, policies, and procedures are thoroughly discussed by several
national law enforcement organizations. The organizations from which I drew my opinions are
the following: The International Association of Chiefs of Police (IACP); Federal Bureau of
Investigation (FBI) the Force Science Research Center (FSRC); the National Officer Tactical
Association (NOTA); the Commission on Accreditation for Law Enforcement Agencies, Inc.
(CALEA); the Institute for the Prevention of In-Custody Deaths, Inc. (IPICD); and the
Americans for Effective Law Enforcement (AELE). All of these organizations help to establish
the standard guidelines for law enforcement to be utilized in conducting criminal investigations.

In order to review this case, I used the law enforcement standards for analyzing search warrants,
arrest warrants, and for the conducting of criminal investigations. In particular, in reaching my
opinions, I have relied upon the policies and writings of the IACP. For over 120 years, the IACP
has been a guiding organization for police departments in the United States and throughout the
world, and has been accepted as an organization that helps to define and resolve law enforcement
issues.1

  The IACP's policies for search and arrest warrants and for the conducting of criminal
investigations have been adopted by a substantial number of police departments throughout the
United States and reflect the prevailing national standards for police conduct for such activities
in this country. I reached this conclusion after reviewing the internal operating procedure
policies regarding the issuance of search and arrest warrants and for conducting criminal
 investigations of over twenty police departments located throughout the United States.

In addition, during my work for the FBI, training law enforcement personnel from across the
United States, I have reviewed and/ or discussed the policies and procedures concerning criminal
investigations, arrests, and search warrants with personnel from over three hundred law
enforcement agencies throughout the United States. The criminal investigations, arrests and
 search warrants policies and procedures of these organizations are consistent with the policies
 and procedures to which the IACP adheres.




 1 International Association of Chiefs of Police, website http://www.theiaxp.org/History

                                                          2
          Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 47 of 52




Professional Background

My law enforcement professional experience spans forty-eight years. I started as a military
officer serving in combat in Vietnam. I then worked for ten years in the FBI as an investigator
and assistant commander of a Special Weapons and Tactics (SWAT) team making hundreds of
arrests of violent criminals. Additionally, I served for sixteen years as an instructor at the FBI
Academy in police tactics, including SWAT and other tactical programs. There, I developed the
Law Enforcement Training for the Safety and Survival Program and implemented it into the
FBI's Violent Crimes Task Force and other police programs dealing with violent crimes. During
that period, I also instructed over 8,000 federal, state, city, and county law enforcement officers
in police procedures and tactics. After retiring from the FBI, during the past eighteen years, my
work has included serving as a police instructor, both nationally and internationally, teaching
police policies and procedures, tactics, and the use of force.

Opinions and Basis Thereof

I have formed the professional opinions stated in this report based upon my education, training,
and experience, as well as my review and analysis of the evidentiary materials provided to me
regarding the captioned case.

As Mr. Klotz pointed out in his report, according to the IACP Concept and Issues Paper for
Criminal Investigations, "it is very important that patrol officers and first-line supervisors have a
broad understanding of the criminal investigation process in order to ensure that they take those
measures and avoid missteps that will better ensure the overall success of criminal
investigations."2 Officer Patel of the First District was the officer who responded to the
Metropolitan Police Department (MPD) dispatcher's request for assistance following Ms.
 Schulz's 911 call. Officer Patel interviewed Ms. Schulz about the incident. He had been trained
 at the MPD's police academy regarding the information that should be gathered to complete a
 report for the MPD. He took notes during the investigation and then returned to his vehicle and
 wrote his report.

In deposition, Officer Patel testified that he had initially intended to classify the reported offense
as an "assault with a dangerous weapon" (ADW), a felony. Officer Patel discussed with his
supervisor, Sergeant Architzeo, the specifics of his conversation with Ms. Schulz, including
information about Mrs. Sherrod allegedly pulling a gun on Ms. Schulz. Sergeant Architzeo
directed Officer Patel to classify the alleged crime as "threats to do bodily harm," a
misdemeanor, which is reflected in the police report that Officer Patel prepared. The following
day Det. McHugh, who was completing a one-year probationary period as a detective, was
assigned to the case in order to conduct a follow-up investigation. Officer Patel told Det.
McHugh that his supervisor, Sergeant Architzeo, had previously directed him not to classify this
 incident as an ADW, but rather as "threats to do bodily harm," a misdemeanor. Without any
 additional information, Det. McHugh requested Officer Patel to reclassify Mrs. Sherrods' alleged
 criminal offense as a felony, ADW.



  Klotz Report, pg. 4.
           Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 48 of 52




It is my opinion, which I hold to a reasonable degree of profession certainty, Officer Patel was in
violation of the IACP criminal investigation standard and his department's policies when he
reclassified the event between Ms. Schulz and Mrs. Sherrod from a misdemeanor "threat to do
bodily harm" to a felony "assault with a dangerous weapon" without having any additional
evidence and in total disregard of what his superior advised him to do. Det. McHugh appears to
have requested a fellow police officer to change his report to a felony instead of a misdemeanor
in order to accommodate what appears to be his biases.

The IACP Criminal Investigation Concepts and Issues Paper states "[t]he primary goal of the
follow-up investigation is to gather information and evidence.... when the investigator
reinterviews the victim and witnesses, he or she must test and retest the validity of their
statements.... the investigator must be able to recognize that factors of fear, stress, relationship,
friendship, or dishonesty color and affect the credibility of the responses.... All information
gathered should be categorized as investigative leads rather than positive evidence of a suspect's
guilt or innocence."3 It is inappropriate and unacceptable under the standards set forth by the
IACP to introduce biases into the investigation as Det. McHugh did. The investigation should be
fact-driven, and the investigation should follow the leads developed and information gathered.

Moreover, the IACP Model Policy for Criminal Investigations provides that an investigative
officer in charge of a follow-up investigation should "search for new witnesses; complete
background checks on witnesses, victims, and suspects, as appropriate; and seek additional
information from other officers."4 Det. McHugh failed to conduct a proper investigation as
described in both the IACP policy for criminal investigations and his department's policies and
procedures. He failed to adhere to this and other IACP standards, in the following ways:

Det. McHugh did not seek additional information from Sergeant Architzeo, a senior officer who
had reviewed the evidence from Officer Patel's initial interview of Ms. Schulz and determined
that the case should properly be investigated as a misdemeanor charge rather than a felony ADW
charge.

While Det. McHugh obtained the video surveillance recording of the May 14,2015 incident, he
failed to realize that the video not only failed to corroborate Ms. Schultz' retelling of the events
to Det. McHugh in his interview of her, the videotape contradicted her story. In his written
descriptions of the video recording, Det. McHugh repeatedly significantly misstated the events
depicted in the video. For example, Mrs. Sherrod is not shown to be bending over into her
vehicle just prior to pointing her arm at Ms. Schulz. In fact, she is shown to be bending over at
the driver's side of her car approximately forty-five seconds prior to the time she points her arm
toward Ms. Schulz. Also, Ms. Schulz does not get into her car and leave immediately after Mrs.
 Sherrod pointed her arm at her but delays leaving for twenty-one seconds. Moreover, during that
period, Mrs. Sherrod appears to continue to talk to Ms. Schulz through the latter's passenger
window. Det. McHugh's making false statements violate the IACP's criminal investigation
 standard and his department's policies and procedures.



3 Klotz Report, pg. 6.
4 Klotz Report, pg. 7.
           Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 49 of 52




Worse yet, while Det. McHugh admitted that the video was not clear enough to see if Mrs.
Sherrod had a gun in her hand, he nevertheless falsely stated in his subsequent affidavits that he
prepared to obtain a search warrant for the Sherrods' home and to arrest Mrs. Sherrod and that
the video actually "corroborated" Ms. Schulz's story that Mrs. Sherrod had pointed a gun at Ms.
Schulz during the May 14,2015 incident.

In deposition, Det. McHugh claimed the video was too grainy to see what Mrs. Sherrod was
holding in her hand but that "the video is clear enough to see movements, an arm outstretched in
front of a person's body" and that "[t]o anyone in law enforcement, that's an indication of
someone pointing a gun at somebody else."5 While the manner in which a person is holding
their arm may be an indication that they are pointing something, it certainly does not establish
that the person had a gun in her hand. I opine that no reasonable officer would have come to the
conclusion that Mrs. Sherrod was pointing a weapon simply by seeing the way she was holding
her arm without any objective new information to support mis conclusion.6

By submitting false affidavits to obtain search and arrest warrants, Det. McHugh violated the
IACP national standards for obtaining search and arrest warrants, as well as his own
department's policies and procedures governing warrant applications.7

The IACP defines probable cause to affect an arrest as "when facts and circumstances within an
officer's knowledge are sufficient to warrant a prudent person, or one of reasonable caution, to
believe that the suspect has committed, is committing, or is about to commit an offense." In my
professional opinion, Det. McHugh never had probable cause at any point in his investigation to
pursue a criminal case against Mrs. Sherrod and no objectively reasonable police officer would
have believed that probable cause existed under the facts of this case.

By violating the search warrant standards, Det. McHugh violated the Sherrods' Fourth
Amendment rights and placed the Sherrods at risk of being seriously injured or killed if they had
not acted properly when the police entered their home. The police broke down the door of their
home and entered with guns drawn, not knowing into what circumstances they were entering.
An entry team must be highly alert to any suspicious movement when making an entry. If the
Sherrods had quickly exited their bedroom and surprised the police officers, it would have been
an extremely dangerous situation for the Sherrods in which they could have been shot and killed.


  McHugh Depo. pg. 159.

6 I have reviewed the video recording of the May 14,2015 incident and its resolution is sufficient to enable me to
see that when she raised her right arm, Mrs. Sherrod was merely pointing her hand and may have been holding a
notepad in her right hand and not a gun.
7 Det. McHugh contacted Det. Simmons of the City of Bowie Police Department and requested that she file an
application in the Circuit Court for Prince George's County, Maryland for a search warrant of the Sherrods' home.
He provided her with a draft search warrant application. Det. Simmons relied entirely on the information supplied
to her by Det. McHugh and did not independently view the video recording. McHugh Depo. pg. 170. This, in
effect, made the application for the search warrant entirely that of Det. McHugh. These false statements contained in
the application are a gross violation of his department's policies and procedures and the search warrant standard set
forth by the IACP.
8 IACP Model Policy for Conducting Arrests, August 2010 (Michigan v. DeFillippo, 443 U.S. 31 (1979)).

                                                          5
           Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 50 of 52




Because he lacked probable cause to arrest Mrs. Sherrod, Det. McHugh violated IACP's arrest
warrant standard and Mrs. Sherrods' Fourth Amendment rights. Det. McHugh's negligence and
misconduct caused Mrs. Sherrod to needlessly undergo the embarrassing, humiliating, and
frightening process of being arrested, handcuffed, booked, photographed, transported to the
Superior Court of the District of Columbia for processing, and jailed.

 Det. McHugh did not thoroughly vet and investigate Ms. Schulz, the alleged victim, to properly
judge her credibility and any underlying ulterior motives that may have led her to file a report of
 this incident to the MPD long after the incident had concluded. It is inappropriate and grossly
 negligent to take the word of only one person, especially when dealing with an alleged violent
 crime. Moreover, after viewing the surveillance video of the May 14,2015 incident, any
 objectively reasonable police officer would have re-interviewed Ms. Schulz and confronted her
 with the obvious inconsistencies between her story about what occurred during the incident
 (discussed above) and the starkly contrary video evidence. Det. McHugh violated the IACP
 criminal investigation standard by failing to do so.

In deposition, Ms. Schulz made the astonishing admission that she never saw a gun in Mrs.
Sherrod's hand at any time during the May 14,2015 incident.9 Had Det. McHugh interrogated
Ms. Schulz properly during his May 15,2015 interview of her, he would have discovered this
fundamental flaw in Ms. Schulz's story that would have stopped his investigation in its tracks.

Several months later, at the time of the Grand Jury, Det. McHugh discovered that Ms. Schulz had
mental health issues and her credibility was undermined by the fact she changed her version of
the weapon that she allegedly saw Mrs. Sherrod point at her. In deposition, Det. McHugh
testified he uses social media in his investigations, but he never looked at Ms. Schulz's social
media at anytime during the investigation. Had he reviewed Ms. Schulz's Twitter postings at
the outset of his investigation or anytime thereafter, he would have discovered Ms. Schulz's
longstanding mental illness (bipolar depression) that predated the May 14,2015 incident. Det.
McHugh violated the IACP criminal investigation standard by failing to do so. The knowledge
of Ms. Schulz's mental illness would have led any objectively reasonable law enforcement
 officer to question the veracity of Ms. Schulz's statements, especially given her long delay in
reporting the alleged criminal conduct to law enforcement.

Det. McHugh also failed to conduct a search in order to locate or interview an eyewitness to the
incident in violation of the IACP criminal investigation standard. Mr. Wright, an employee of
Gingko Gardens, was plainly visible in the surveillance video that was obtained and reviewed by
Det. McHugh. If Det McHugh had interviewed Mr. Wright, he would have heard the witness's
version of what happened. A gun was never seen by this witness, who was within a few feet of
the incident when it occurred.

Det. McHugh placed information into the Washington Area Law Enforcement System (WALES)
and the National Crime Information Center (NCIC) system for a felony lookout. He stated: "[i]f
the vehicle is located, hold all occupants and seize the vehicle as evidence," as he claimed the

   See Schulz Depo. page 64 line 7-8, "Q. Did you look at her hand? A. "No."; Lines 18-20: "Q. My question is: Up
   til the time you left, did you ever look at her hand? A. I don't think I did. I don't know."
          Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 51 of 52




vehicle had been involved in an ADW offense.10 In the alert's summary section Det. McHugh
stated: "[a] suspect occupying the vehicle brandished a firearm at the victim while exchanging
information following a traffic accident."1! However, Det. McHugh's statements had not been
 substantiated by his investigation. Moreover, Det, McHugh's alert made the car Mrs. Sherrod
was driving a high-risk stop for any law enforcement officer who stopped the car. Therefore,
any law enforcement officers who stopped the Sherrods' car would have approached it with guns
drawn, as in fact occurred when the Capitol Police stopped the Sherrods' car. During the traffic
stop, one mistake by the Sherrods or a miscalculation by one of the officers could have resulted
in the officers discharging their weapons at the Sherrods. Det. McHugh put the Sherrods' lives
in danger without good cause. It appears that he had a total disregard for the people he was
sworn to protect.

Det. McHugh testified that the police department has its way of determining what investigation
is needed to prosecute a case.12 However, in the criminal justice system in the United States, the
police do not prosecute a case; it is the prosecutor's office who brings the case to the court
system and, therefore, will be the ones to determine if the evidence is enough to prosecute a case.
I opine that Det. McHugh was grossly negligent in the way he pursued the investigation and
worked outside the parameter of the standards set forth by the IACP in how a case should be
investigated.

After hearing the testimony of Ms. Schulz and Det. McHugh, the Grand Jury refused to indict
Mrs. Sherrod; and on January 6,2016, the ADW charge was dismissed by the U.S. Attorney's
Office.13 Mrs. Sherrod had to go through twenty long and painful months of investigation
because of Det. McHugh's gross negligence in the performance of his duty and incompetence in
how to run a simple investigation.

Conclusion

It is my opinion, which I hold to a reasonable degree of professional certainty, that the incident
that occurred between Ms. Schulz and Mrs. Sherrod was not investigated according to the
national standards set forth by the IACP and Det. McHugh's own police department. It is also
my opinion that if Det. McHugh had followed the proper protocol for criminal investigations, he
would have developed information that would have quickly led to the investigation's termination
and the dismissal of the charges against Mrs. Sherrod. If he had followed these standards, Det.
McHugh would have discovered that Mrs. Schulz's versions of the events were incorrect and
 uncorroborated and that there was no reasonable basis to believe that Mrs. Sherrod had
 committed a felony or misdemeanor.

In summary, its my opinion, which I hold to a reasonable degree of professional certainty, that:
(1) the criminal investigation performed by Det. McHugh was flawed and fell below the standard
of care set by the IACP; (2) Det. McHugh failed to determine any level of probable cause to

 10 McHugh Depo., pg. 126.
 11 McHugh Depo., pg. 130.
 12 McHugh Depo., pg. 199.
 13 Exhibit 78, pg. 1.
          Case 1:16-cv-00816-RC Document 56 Filed 10/31/17 Page 52 of 52




conduct a felony investigation of Mrs. Sherrod for an assault with a dangerous weapon; (3) no
objectively reasonable police officer would believe that the actions Det. McHugh took during his
follow-up investigation of the May 14,2015 incident were appropriate under the circumstances;
 (4) Det. McHugh's actions were contrary to national police standards for probable cause in
 determining justification for a search warrant for the Sherrods' residence and the arrest of Mrs.
Sherrod; (5) Det. McHugh, in his reports and actions during his follow-up investigation,
submitted police reports that were misleading, contained false information, and took actions that
were contrary to national police standards for such activities, no objectively reasonable police
officer would believe this to be proper; and (6) Det. McHugh, in continuing to attempt to
prosecute Mrs. Sherrod, despite the information obtained during his follow-up investigation,
acted contrary to national police standards, and no objectively reasonable officer would believe
this to be proper.

 I base my opinions on my background and experience as a law enforcement officer with over
 twenty-six years of experience and as a police trainer with over thirty-five years of experience
 teaching and developing policies and procedures for conducting arrest techniques, including:
 making arrests, handling subjects, and preparation for arrest and search warrants. I expressly
reserve the right to alter, amend, modify, or expand upon these opinions should more
information be made available to me.

                                                             Submitted by,




                                                                      Hayden, Ed.
                                                                      t/Expert Witness
